              Case 2:17-cv-00673-RSL Document 67 Filed 11/14/17 Page 1 of 1




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                                UNITED STATES DISTRICT COURT
 6                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
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     _______________________________________
 8                                          )
     JED W. WHITLEY, et al.,                )
 9                                          )                   Case No. C17-0673RSL
                             Plaintiffs,    )
10              v.                          )
                                            )                   ORDER
11   THE RITCHIE GROUP, et al.,             )
                                            )
12                           Defendant.     )
     _______________________________________)
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14          This matter comes before the Court on defendants’ “Motion to Disqualify Plaintiffs’
15   Counsel and to Compel Plaintiffs to Seek an Order of Substitution to Proceed Pro Se.” Dkt. # 61.
16   Attorney Dean Browning Webb was suspended from practice in this district on November 7,
17   2017. See In re Webb, RD17-0105WTM (Dkt. # 3). The motion to disqualify is therefore
18   GRANTED. Because an order of substitution is not necessary for plaintiffs to proceed pro se,
19   that aspect of the request for relief is DENIED.
20          Plaintiffs have voluntarily dismissed all remaining claims against defendants. Dkt. # 66.
21   The Clerk of Court is directed to terminate this matter.
22
23          Dated this 14th day of November, 2017.
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                                               A
                                               Robert S. Lasnik
                                               United States District Judge
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     ORDER
